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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

         v.                                            Criminal Action No. 21-214 (JDB)
 JOSEPH LINO PADILLA,
 also known as “Jose Padilla,”
         Defendant.


                                            ORDER

       Upon consideration of defendant Joseph Lino Padilla’s [60] motion to dismiss Count

Seven, [61] motion to revoke detention order and reopen detention hearing, and [62] motion for

discovery and evidentiary hearing on a selective prosecution claim, and the entire record herein,

and for the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that [60] the motion to dismiss Count Seven is DENIED; it is further

       ORDERED that [61] the motion to revoke detention order and reopen detention hearing

is DENIED; and it is further

       ORDERED that [62] the motion for discovery and evidentiary hearing on a selective

prosecution claim is DENIED.

       SO ORDERED.



                                                                          /s/
                                                                  JOHN D. BATES
                                                              United States District Judge


Dated: February 13, 2023
